       Case 2:19-cv-08108-DMG-MRW Document 116 Filed 09/20/21 Page 1 of 2 Page ID #:6874



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                     Attorneys for Defendants
                   8 QUEST DIAGNOSTICS CLINICAL
                     LABORATORIES, INC.; QUEST
                   9 DIAGNOSTICS HOLDINGS, INC. and
                     QUEST DIAGNOSTICS INCORPORATED
                  10

                  11                       UNITED STATES DISTRICT COURT
                  12                     CENTRAL DISTRICT OF CALIFORNIA
                  13 JULIAN VARGAS, ANNE WEST and              Case No. 2:19-cv-08108 DMG (MRWx)
                     AMERICAN COUNCIL OF THE
                  14 BLIND, individually on behalf of          NOTICE OF PAYMENT OF COURT-
                     themselves and all others similarly       ORDERED SANCTIONS
                  15 situated,

                  16             Plaintiffs,
                                                               Complaint Filed: September 18, 2019
                  17        v.                                 Trial Date:       January 11, 2022
                                                               District Judge: Hon. Dolly M. Gee
                  18
                     QUEST DIAGNOSTICS CLINICAL                                  Courtroom 8C, First St.
                                                               Magistrate Judge: Hon. Michael R. Wilner
                  19 LABORATORIES, INC., QUEST                                   Courtroom 550, Roybal
                     DIAGNOSTICS HOLDINGS, INC.,
                  20 QUEST DIAGNOSTICS
                     INCORPORATED; and DOES 1-10,
                  21 inclusive,

                  22             Defendants.
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                                        NOTICE OF PAYMENT OF COURT-ORDERED SANCTIONS
       Case 2:19-cv-08108-DMG-MRW Document 116 Filed 09/20/21 Page 2 of 2 Page ID #:6875



                   1         PLEASE TAKE NOTICE THAT, in compliance with this Court’s Order (ECF
                   2   No. 101 ⁋ 13), defendants QUEST DIAGNOSTICS CLINICAL LABORATORIES,
                   3   INC.; QUEST DIAGNOSTICS HOLDINGS, INC. and QUEST DIAGNOSTICS
                   4   INCORPORATED and their counsel of record (Ogletree, Deakins, Nash, Smoak &
                   5   Stewart, P.C.) have paid plaintiffs Julian Vargas and American Council of the Blind
                   6   (“Plaintiffs”) a total of $1,500.00 in the form of two checks made out to each of the
                   7   Plaintiffs in the amount of $750.00 each. FedEx confirmed on September 20, 2021
                   8   that the checks were received by counsel of record for each of Mr. Vargas and ACB.
                   9                                          Respectfully submitted,
                  10   DATED: September 20, 2021              OGLETREE, DEAKINS, NASH, SMOAK &
                                                              STEWART, P.C.
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                  12

                  13                                          By: /s/ David Raizman
                                                                  David Raizman
                  14                                              Amber L. Roller
                                                                  J. Nicholas Marfori
                  15
                                                              Attorneys for Defendants
                  16                                          QUEST DIAGNOSTICS CLINICAL
                                                              LABORATORIES, INC.; QUEST
                  17                                          DIAGNOSTICS HOLDINGS, INC. and
                                                              QUEST DIAGNOSTICS INCORPORATED
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                                           NOTICE OF PAYMENT OF COURT-ORDERED SANCTIONS
